           Case 3:20-cv-06761-EMC Document 176 Filed 09/07/23 Page 1 of 6


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13                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
14
                                       SAN FRANCISCO DIVISION
15

16    STATE OF CALIFORNIA, et al.,                  CIVIL CASE NO.: 3:20-CV-06761-EMC

17                         Plaintiffs,              JOINT STIPULATION AND [PROPOSED]
                    v.                              ORDER REGARDING SUMMARY
18                                                  JUDGMENT BRIEFING SCHEDULE
19    BUREAU OF ALCOHOL, TOBACCO,
      FIREARMS AND EXPLOSIVES, et al.,              Action Filed: September 29, 2020
20                                                  Hon. Edward M. Chen
                           Defendants.
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             JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SUMMARY JUDGMENT BRIEFING
                                SCHEDULE – CASE NO. 3:20-CV-06761-EMC
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1           Pursuant to Civil Local Rule 7-12 and subject to the Court’s approval, the State of California

2    and Giffords Law Center to Prevent Gun Violence (“Plaintiffs”), Bureau of Alcohol, Tobacco, Firearms

3    and Explosives, Steven Dettelbach, Daniel Hoffman, United States Department of Justice, and Merrick

4    B. Garland (“Defendants”) (collectively, the “Parties”), by and through their respective counsel of

5    record, hereby submit this Joint Stipulation Regarding Summary Judgment Briefing Schedule.

6           WHEREAS, the Court held a status conference on August 29, 2023;

7           WHEREAS, at the status conference, the Court indicated that it would set a four-brief schedule

8    for resolving cross-motions for summary judgment, and ordered Defendants to file their brief first (ECF

9    No. 175);
10          WHEREAS, the Court directed the parties to meet and confer regarding a proposed schedule
11   for briefing and a hearing to resolve the parties’ cross-motions for summary judgment;
12          WHEREAS, the parties have met and conferred, and agreed on a proposed schedule;
13          WHEREAS, the parties acknowledge that enlargements to the page limits set forth in this
14   Court’s local rules may be appropriate for the parties’ summary judgment briefing, and the parties
15   intend to address that issue in subsequent stipulations or motions;
16          NOW, THEREFORE, pursuant to Civil Local Rule 7-12, the Parties respectfully request,
17   through their undersigned counsel, that the Court set a schedule for resolution of the parties’

18   forthcoming cross-motions for summary judgment as follows:

19          Defendants’ Motion for Summary Judgment and Brief in Support: on or before October 5, 2023;
20          Plaintiffs’ Cross-Motion for Summary Judgment and Brief in Support of Cross-Motion for

21   Summary Judgment and in Opposition to Defendants’ Motion for Summary Judgment: on or before

22   October 26, 2023;

23          Defendants’ Opposition to Plaintiffs’ Cross-Motion for Summary Judgment and Reply in

24   Support of Defendants’ Motion for Summary Judgment: on or before December 7, 2023;

25          Plaintiffs’ Reply in Support of Plaintiffs’ Cross-Motion for Summary Judgment: on or before

26   January 4, 2024;

27          Hearing on Defendants’ Motion for Summary Judgment and Plaintiffs’ Cross-Motion for

28   Summary Judgment: January 18, 2024, or as soon thereafter as the parties may be heard.
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          JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SUMMARY JUDGMENT BRIEFING
                               SCHEDULE – CASE NO. 3:20-CV-06761-EMC
          Case 3:20-cv-06761-EMC Document 176 Filed 09/07/23 Page 3 of 6


1                                         Respectfully submitted,

2

3    Dated: September 7, 2023             /s/    Jeremy S.B. Newman

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          Case 3:20-cv-06761-EMC Document 176 Filed 09/07/23 Page 4 of 6


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9    Dated: September 7, 2023             /s/ S. Clinton Woods

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                                          and through Attorney General Rob Bonta
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          JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SUMMARY JUDGMENT BRIEFING
                               SCHEDULE – CASE NO. 3:20-CV-06761-EMC
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1                                      SIGNATURE ATTESTATION
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3    Pursuant to Local Rule 5-1(i), I hereby attest that concurrence in the filing of the document has been
     obtained from each of the other Signatories.
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5    Dated: September 7, 2023                              /s/ Jeremy S.B. Newman
                                                           Jeremy S.B. Newman
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          JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SUMMARY JUDGMENT BRIEFING
                               SCHEDULE – CASE NO. 3:20-CV-06761-EMC
           Case 3:20-cv-06761-EMC Document 176 Filed 09/07/23 Page 6 of 6


1                                         [PROPOSED] ORDER
2
            Having considered the parties’ Stipulation, and good cause appearing, the Court hereby
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     GRANTS the parties’ stipulation. IT IS HEREBY ORDERED that the Court will hear the parties’
4
     cross-motions for summary judgment in accordance with the following schedule, set forth in the
5
     parties’ Stipulation:
6
            Defendants’ Motion for Summary Judgment and Brief in Support: on or before October 5, 2023;
7
            Plaintiffs’ Cross-Motion for Summary Judgment and Brief in Support of Cross-Motion for
8
     Summary Judgment and in Opposition to Defendants’ Motion for Summary Judgment: on or before
9
     October 26, 2023;
10
            Defendants’ Opposition to Plaintiffs’ Cross-Motion for Summary Judgment and Reply in
11
     Support of Defendants’ Motion for Summary Judgment: on or before December 7, 2023;
12
            Plaintiffs’ Reply in Support of Plaintiffs’ Cross-Motion for Summary Judgment: on or before
13
     January 4, 2024;
14
            Hearing on Defendants’ Motion for Summary Judgment and Plaintiffs’ Cross-Motion for
15
     Summary Judgment: January 18, 2024, or as soon thereafter as the parties may be heard.
16

17   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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19   Dated: ________________, 2023
20                                                     Honorable Edward M. Chen
                                                     United States District Court Judge
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          JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SUMMARY JUDGMENT BRIEFING
                               SCHEDULE – CASE NO. 3:20-CV-06761-EMC
